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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                          :
 BANCO SAN JUAN INTERNACIONAL INC.,                       :
                                                          :
                        Plaintiff,                        :
                                                          :
        v.                                                :     C.A. No. 1:23-CV-1263
                                                          :
 PETRÓLEOS DE VENEZUELA, S.A.                             :
 and PDVSA PETRÓLEO, S.A.,                                :
                                                          :
                        Defendants.                       :
                                                          :
                                                          :

                    DEFENDANTS’ RESPONSE TO PLAINTIFF’S
                 NOTICE OF STATUS UPDATE AND NEW AUTHORITY

       Petróleos de Venezuela, S.A. (PDVSA) and PDVSA Petróleo, S.A. (together,

“Defendants”) write in response to Plaintiff Banco San Juan Internacional, Inc.’s submission of a

status update and new authority. D.I. 63.

       Banco’s reliance on the D.C. Circuit’s decision in Valores Mundiales, S.L. v. Bolivarian

Republic of Venezuela, 87 F.4th 510 (D.C. Cir. 2023), issued more than two months ago, is

misplaced. That case involved the enforcement of an arbitral award rendered under the

Convention on the Settlement of Investment Disputes between States and Nationals of Other

States (the “ICSID Convention”), which creates a sui generis, self-contained arbitral regime and

imposes an international treaty obligation on the United States to recognize and enforce ICSID

awards as if they were judgments of a court of a constituent state of the United States. Valores,

87 F.4th at 513. That decision does not dispose of this case, as there is no comparable treaty

obligation to recognize and enforce foreign-country judgments and the D.C. Uniform Foreign-

Country Money Judgments Act (the “D.C. Recognition Act”) contemplates collateral review of

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foreign-country judgments on various grounds. D.C. Code § 15-361(c). Moreover, in Valores,

the D.C. Circuit went out of its way to note that there was “no roving ‘public policy exception’”

to the recognition and enforcement of ICSID awards. Valores, 87 F.4th at 519 (citation omitted).

By contrast, the D.C. Recognition Act expressly provides a public policy exception to

enforcement of foreign-country judgments. D.C. Code § 15-361(c)(3).

       Ultimately, nothing in the Valores decision changes the fundamental defect with Banco’s

request to enforce the U.K. judgments. As explained more fully in Defendants’ Opening Brief

and Reply in support of their Motion to Dismiss (D.I. 53-1, 55), Banco, who is represented by

well-known U.S.-based international law firms, has never denied that its scheme all along was to

keep the PDVSA ad hoc Board in the dark while it obtained judgments in the United Kingdom

with the intent of bringing those judgments to the United States in an effort to execute on

property owned and controlled solely by the ad hoc Board. No foreign judgments rendered in

these circumstances can be enforced in the United States, whether because of U.S. public policy,

lack of personal jurisdiction in the foreign court, deprivation of due process, extrinsic fraud or all

of those grounds combined. The status update provided by Banco relating to the Crystallex

matter and the OFAC regulations is immaterial to this analysis.




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                                    Respectfully submitted,


                                     CURTIS, MALLET-PREVOST,
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                                     and PDVSA Petróleo, S.A.



Dated: February 16, 2024




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